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Case 19-12008-abl Doc 22

VERA CROWLEY

2152 PONT NATIONAL DRIVE
HENDERSON NV 89044
702-481-0181

Debtor

IN PRO PER

UNITED STATES BANKRUPTCY COURT

KRISTIN A. SCHULER~HINTZ ESQ, NV SBN

MICHAEL CHEN ESQ, NV SBN 7307
McCarthy & Hoithus, LLP

9510 WEST SAHARA AVE SUITE 200
LAS VEGAS NV 89117

PHONE (702) 685-0329
FAX 866-339-5691

NVGK@McCarthyHolthus.com

— Celator

phekeetee vc

VERA CROWLEY,

Debtor

 

 

 

OPPOSITION OF PROPOSED ORDER TERMINATING AUTOMATIC

STAY AND ABANDONMENT

VERA CROWLEY (the "Debtor"), the above-

OPPOSITION OF PROPOSED ORDER TERMINATING AUTOMATIC STAY AND ABANDONMENT

Entered 05/10/19 13:40:36 Page 1 of 7

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CHAPTER 7

CASE NO: 19-12008-abl
HEARING DATE: 5/22/2019
HEARING TIME: 10:30am

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OPPOSITION QF BPROBOSER- ORDER
TERMINATING AUTOMATIC STAY AND

ABANDONMENT

 

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Captioned debtor in possession hereby submits this objection to the Motion
of the U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE FOR
CITIGROUP MORTGAGE LOAN TRUST INC. MORTAGE PASS-
THROUGH CERTIFICATES, SERIES 2007-AR7’S MOTION FOR
RELIEF FROMN AUTOMATIC STAY AND ABANDONMENT I hereby
object to motion to lift automatic stay and abandonment. Debtor is in
modification. Debtor has notified law office on several occasions in regards
to being in modification. Debtor also fax requested form to attorney office
informing them of modification.

The law firm failed to return any calls.

This opposition is made and based upon the attached memorandum of
points and authorities, the papers and pleadings as referenced herein, and any
other materials the Court may consider in deciding this matter.

DATED this 8" day of May, 2019

 

VERA CROWLEY
In Pro Per

MEMORANDUM OF POINTS AND AUTHORTIES
I. Introduction

This case involves Plaintiff, U.S. Bank National Association, as
Trustee for Citigroup Mortgage Loan Trust Inc. Mortgage Pass-
through Certificates, Series 2007-AR7, Its assignees and/or
successors, by and through its servicing agent Nation Star
Mortgage LLC d/b/a Mr. Cooper who is currently working on a
modification for Vera Crowley for said property located at 2152
Pont National Drive, Henderson NV 89044

Il. Factual Background.

 

OPPOSITION OF PROPOSED ORDER TERMINATING AUTOMATIC STAY AND ABANDONMENT

 
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A. The Parties.

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IV.

OPPOSITION OF PROPOSED ORDER TERMINATING AUTOMATIC STAY AND ABANDONMENT

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. RELIEF FROM AUTOMATIC STAY AND ABANDONMENT

Vera Crowley at said property, located at 2152 Pont national drive
Henderson NV 89044, is working with Mr, Cooper, a servicing
co. for U.S. Bank/ Citigroup mortgage loan co. on a modification.
Ms. Vera Crowley would like to keep her home as she has
expressed to Mr. Cooper servicing LLC. Ms. Vera Crowley
notified the law firm above as well on several occasions.

Argument.

 

SHOULD NOT BE GRANTED

Debtor is currently working with servicing co. on modification.
If automatic stay abandonment is lifted, Crowley would be in
jeopardy of losing her home.

 

The law firm was notified of modification on several occasions.

As noted above, automatic stay should not be lifted. This will
cause a true hardship and could cause debtor to lose her home.
Debtor is working with Nationstar mortgage/ Mr. Cooper on
modification.

Conclusion.

Based upon the above, the Debtor, Vera Crowley, herby request
the automatic stay and abandonment not be lifted. Debtor is

working on a modification with lenders. piease Ste pttecne
Eki Buf Modch CORIN RPoOnmenets.

DATED this 8" day of May, 2019.

VERA CROWLEY

 
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VERA CROWLEY >

In Pro Per

2152 Pont National Drive
Henderson NV 89044

OPPOSITION OF PROPOSED ORDER TERMINATING AUTOMATIC STAY AND ABANDONMENT

 
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z Fo Be 50 Cypress Waters Biva. : com
tet PS Connell, TX 75019 wwwunrcooper.con
ihe DEBTOR(S)
VERA CROWLEY
Dangfafeng futhaal [lage fGACttaag gf facag tty ely pegged fEftely fly CASE NUMBER
2852 1MB0.428 TiOP1 AUTO 974846.1-NNNN-30200034 1912008
VERA CROWLEY LOAN NUMBER
2152 PONT NATIONAL DR 0611211186
HENDERSON, NV 89044. PROPERTY ADDRESS
2152 PONT NATIONAL DR
HENDERSON, NV 89044

Dear Vera Crowley:

We received your application for loss mitigation options and/or supporting documentation (the “Borrower Response Package”).
We have determined that your application for loss mitigation is incomplete either because we are missing documentation or the
information in the documentation you have supplied is incomplete. This letter includes a list of the document(s) we've already
received and their status, the required document(s)/information we still need and the next steps for you to take. We encourage
you to return the specified documentation to us by 5/23/2019.

 

 

 

Vera Crowley
: Document {Expiration
Required Documents Status Date Next Steps
Two months hank statements or other third party
_ |documents showing evidence of paymentsfor -_ jNot Received | _ss ss—Cs|Please provide the required document, _

benefits income

 

: . . We need one more paystub to determin
30 Days consecutive paystubs with employer name [Update pay: © your

 

 

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including year to date deductions and earnings Needed micome Please provide an additional
consecutive paystub.
thi is for this doe
A506T Complete 8/14/2019 No hing further is needed for this document
at this time.
Homeowners association documentation (HOA Nothing further is needed for this document

. . 1 12/1/201
Dues) showing amount and frequency of payment Complete /1/2019

RMA (Request for Modification and Affidavit
Form) Or UBAF (Uniform Borrower Assistance Complete 10/13/2019
Form)

Written explanation describing the details of the
hardship and relevant documentation

at this time.

 

Nothing further is needed for this document
at this time.

 

Nothing further is needed for this document

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Complete 5/31/2019 | this time.

 

 

 

 

 

 

If any documents are shown to be ‘not received,’ ’update needed’ or ‘expired,’ we encourage you to return the document(s) to
us as soon as possible. Various delivery options are provided on the next page. For the documents shown to be ‘complete,’ please
also reference the approaching expiration dates. Generally, the documentation you have provided expires 90 days from our
receipt.

We have provided a reasonable date for you to return the completed Borrower Response Package to us. Please note that we may
still review the application if it is received after that date, but the sooner the documents are returned to us the better.

Mr. Cooper is a brand name for Nationstar Mortgage LLC. Nationstar Mortgage LLC is doing business as Nationstar Mortgage LLC d/b/a Mr.
Cooper. Mr. Cooper is a registered service mark of Nationstar Mortgage LLC. All rights reserved.

Please be advised this communication is sent for informational purposes only and is not intended as an attempt to collect, assess, or
recover a claim against, or demand payment from, any individual protected by the U.S. Bankruptcy Code. If this account has been
discharged in a bankruptcy proceeding. be advised this communication is for informational purposes only and not an attempt to collect a
debt against you; however, the servicer/lender reserves the right to exercise the legal rights only against the property securing the loan
obligation, including the right to forectose its lien under appropriate circumstances. Nothing in this communication shail be construed as an
attempt to collect against the borrower personally or an attempt to revive personal liability. EQUAL HO
if you are a successor in interest (received the property from a relative through death, devise, or divorce, and you are not a borrower on the

loan) that has not assumed, or otherwise become obligated on the debt, this communication !s for informational purposes only and is not an
attempt to collect a debt from you personally.

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Notices of Error:

If you believe an error has been made with respect to the mortgage loan, you should provide to us in writing the following
information: Your name (and the name of the borrower, if you are an authorized third party), the lean account number, and the
error you believe has occurred, To submit a notice of error, you must send this information to the following address:

Mr. Cooper
Attn: Notice of Error/Request for Information
PO Box 619098
Dallas, TX 75261-9741

Requests for Information:

To request information regarding the account, you should provide to us in writing the following information: Your name (and the
name of the borrower, if you are an authorized third party), the loan account number, and the information you are requesting with
respect to your mortgage loan, To submit a request for information, you must send this information to the following address:

Mr. Cooper
Attn: Notice of Errar/ Request for Information
PO Box 619098
Dallas, TX 75261-9741

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cooper

Once you have provided the additional documentation/information to us as requested, we will evaluate for all loss mitigation
options available to you. At the conclusion of the evaluation period, which is generally 30 days, we will send you a notification
informing you of the eligibility of those loss mitigation options. If you qualify for a loss mitigation option, yon will have 14 days
from the date of the offer letter to accept or reject the offer, If you do not respond within 14 days, the offer may be deemed as
rejected. There is no guarantee that you will qualify or receive any loss mitigation options. Depending upon the programs for
which youare evaluated, we may be required to obtain third party approval to determine your eligibility,

You may be entitled to additional protections under State or Federal law.

What doI need to do?
Return your complete Borrower Response Package with all requested documentation/information to us by 5/23/2019,

Submit your information to us as soon as possible so we can complete the review process.

» Online - www.mrcooper.com
* Email - modification.assistance@mrcooper.com
* Bax - 214-488-1993
« Mail - Mr. Cooper
Attn: Loan Modification Processing Unit
PO Box 619097

Dallas, TX 75261
Log in to our website www.mrcooper.com to track your loan modification status.

If you need assistance completing the package, you can visit www. HUD. gov for access to HUD-approved counselors. You can also
call the Homeowner’s HOPE™ Hotline at 1-888-995-HOPE (4673), This Hotline can help with questions and offers access to free
HUD-certified counseling services in English and Spanish.

~ You should aiso consider contactmg Mortgagees of any other Mortgages secured by 2152 PONE NATIONAL DR-HENDERSON,

NV 89044 to discuss available loss mitigation options.
If you have any questions, your Dedicated Loan Specialist is John Shuptrine and can be reached at ($65)-316-2432 or via mail at

PO Box 619097, Dallas, TX 75261, Our hours of operation are Monday through Thursday from 7 a.m. to § p.m. (CT), Friday from 7
a.m. to 7 p.m, (CT) and Saturday from 8 a.m. to 12 p.m. (CT). Visit us on the web at www. mreooper.com for more information.

Sincerely

Mr. Cooper

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